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                                                                    Schedule A
Columns
 1          2                    3                  4              5                        6                7                  8                  9
 Cause of   Plaintiff            Musical            Writers        Date of                  Certificate of   Renewal Claimant   Renewal            Date of Known
 Action                          Composition                       Registration/Publicati   Registration                        Certificate Date   Infringement
                                                                   on                       Number                              and Number

            UNIVERSAL MUSIC-     IF YOU LEAVE       Peter Cetera   July 14, 1976            EU 694-744       Peter Cetera       RE 904-428         July 15, 2022
            MGB NA LLC dba       ME NOW                                                                                         November 19,
 1.         UNIVERSAL MUSIC-                                                                                                    2004
            MGB SONGS




            UNIVERSAL MUSIC-     FEELIN’            Peter Cetera   June 11, 1973            EU 411-812       Peter Cetera       RE 841-994         July 15, 2022
            MGB NA LLC dba       STRONGER                                                                                       January 16,
            UNIVERSAL MUSIC-     EVERY DAY          James Pankow                                             James Pankow       2001
            MGB SONGS
 2.



 3.         PWMP ACQUISITION I   AIN’T IT BLUE?      Robert Lamm   July 1, 1975             EP 342-914       Robert Lamm        RE 884-408         July 15, 2022
            LLC dba PRIMARY                                                                                                     September 29,
            WAVE LAMM                                                                                                           2003


 4.         PWMP ACQUISITION I   DOES ANYBODY        Robert Lamm   September 28, 1970       EP 285-833       Robert Lamm        RE 782-927         July 15, 2022
            LLC dba PRIMARY      REALLY KNOW                                                                                    February 19,
            WAVE LAMM            WHAT TIME IT IS?                                                                               1998


 5.         PWMP ACQUISITION I   QUESTIONS 67        Robert Lamm   September 28, 1970       EP 285-835       Robert Lamm        RE 782-929         July 15, 2022
            LLC dba PRIMARY      AND 68                                                                                         February 19,
            WAVE LAMM                                                                                                           1998


 6.         PWMP ACQUISITION I   BEGINNINGS          Robert Lamm   September 28, 1970       EP 285-834       Robert Lamm        RE 782-928         July 15, 2022
            LLC dba PRIMARY                                                                                                     February 19,
            WAVE LAMM                                                                                                           1998
